                                           Case 3:22-cv-05686-LB Document 134 Filed 07/25/24 Page 1 of 6




                                   1

                                   2

                                   3

                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     LOMBARD FLATS LLC, et al.,                           Case No. 22-cv-05686-LB (SK)
                                   8                     Plaintiffs,                          AMENDED ORDER REFERRING
                                                                                              ATTORNEY RESHMA KAMATH TO
                                   9              v.                                          THE STANDING COMMITTEE ON
                                                                                              PROFESSIONAL CONDUCT
                                  10     FAY SERVICING LLC, et al.,
                                  11                     Defendants.

                                  12          On July 24, 2024, the Court issued an Order Referring Attorney Reshma Kamath to the
Northern District of California
 United States District Court




                                  13   District Court’s Standing Committee on Professional Conduct. (Dkt. No. 129.) This Order
                                  14   amends that order to include two subsequent filings by Kamath.
                                  15          Civil Local Rule 11-4 provides that “[e]very member of the bar of this Court and any
                                  16   attorney permitted to practice in this Court under Civil L.R. 11 must, among other things,
                                  17   “[m]aintain respect due to courts of justice and judicial officers,” “[p]ractice with honesty, care,
                                  18   and decorum required for the fair and efficient administration of justice,” and “[d]ischarge all
                                  19   obligations to client(s) and the Court . . .” Pursuant to Local Rule 11-6(a)(1), the Court refers
                                  20   attorney Reshma Kamath to the Court’s Standing Committee on Professional Conduct for her
                                  21   failure to maintain the respect due to courts of justice and judicial officers, failure to practice with
                                  22   the care and decorum required for the fair and efficient administration of justice, and failure to
                                  23   discharge all obligations to the Court.
                                  24          By way of background, on May 8, 2024, the Court held a scheduling conference for a
                                  25   settlement conference where the Court allowed the client representative for Defendant Fay
                                  26   Servicing LLC (“Fay”) to appear at the settlement conference virtually. (Dkt. No. 111.) On May
                                  27   16, 2024, the Court held a subsequent conference and set the settlement conference for July 23,
                                  28   2024. (Dkt. No. 115.) The Court then issued its standard Notice of Settlement Conference and
                                           Case 3:22-cv-05686-LB Document 134 Filed 07/25/24 Page 2 of 6




                                   1   Settlement Conference Order, stating that the conference was in person (except for Defendant

                                   2   Fay’s client representative). (Dkt. No. 116.)

                                   3          On July 21, 2024, Plaintiffs filed a “Fourth Request to Appear Remotely Re Settlement

                                   4   Conference Statement,” where in Plaintiffs’ counsel Reshma Kamath stated: “[t]here is no

                                   5   reasonable excuse why the PMK for defendants must not be mandated to be there [settlement

                                   6   conference] in-person.” (Dkt. No. 119.) Kamath continued that she “feels a security threat to be

                                   7   in the CAND courtrooms in-person,” following “certain incidents.” (Id.) Kamath further argued

                                   8   that she did not want to spend “over $170 on Uber” on a conference “that will only be futile.”

                                   9   (Id.) Kamath argued that, because Fay’s client representative was allowed to appear remotely, “all

                                  10   should be allowed.” (Id.) Kamath then stated that she “does not trust the U.S. courts, its judges,

                                  11   its sheriffs, and the security in front of CAND whatsoever. Whenever the American racists and

                                  12   misogynists can show their true colors doing whatever they want.” (Id.) Kamath then threatened
Northern District of California
 United States District Court




                                  13   that, if the Court did not allow her to attend the conference virtually, “it is highly unlikely

                                  14   Plaintiffs’ counsel will attend.” (Id.) The Court found Kamath’s request to be without good

                                  15   cause, denied the request, and ordered Kamath to attend the settlement conference in person.

                                  16   (Dkt. No. 120.)

                                  17          Twenty minutes later, Kamath responded to the Court’s order. (Dkt. No. 121.) Kamath

                                  18   stated that she would only appear virtually at the settlement conference on July 23, 2024. (Id.)

                                  19   Kamath then stated:

                                  20                  I have reviewed your denial of my request today – while you
                                  21                  continue to promote White litigants and White attorneys – as I have
                                                      prior informed you in detail via e-mail. I have many bosses with the
                                  22                  land name ‘Kim’ and I know this attitude from you very well. Your
                                                      racism and abuse is pretty clear and visible to me.
                                  23
                                       (Id.) Again, Kamath made the argument that, because Fay’s client representative was allowed to
                                  24
                                       appear virtually, all should be allowed to appear virtually. (Id.) Kamath stated that, if the Court
                                  25
                                       wanted her to appear in person, the Court should require that all appear in person. (Id.) Kamath
                                  26
                                       ended by reiterating that she would attend the conference only virtually, and if the Court wanted to
                                  27
                                       call the conference off, it should. (Id.) Doing so would allow her “more time to work on
                                  28
                                                                                          2
                                           Case 3:22-cv-05686-LB Document 134 Filed 07/25/24 Page 3 of 6




                                   1   substantive matters.” (Id.)

                                   2          Later that same day, Kamath filed a letter with an exhibit, wherein Kamath stated that her

                                   3   request to appear virtually was not last minute. (Dkt. No. 123.) She told the Court, “[p]lease

                                   4   adhere to the law when you all pretend to be judges trying to follow the law – but daily violate and

                                   5   act in contravention of laws.” (Id.) Kamath’s exhibit included the final page of her confidential

                                   6   settlement conference statement, which included a request for either an entirely in person or

                                   7   entirely virtual settlement conference. (Id.)

                                   8          The Court did not respond to these filings and held the settlement conference the following

                                   9   day, July 23, 2024. Kamath did not appear in person, violating this Court’s July 22, 2024 Order.

                                  10   However, Plaintiff was present in person. The Court checked its non-public Zoom conference

                                  11   room, located Kamath, and placed her on the Court’s iPad so that she could participate in the

                                  12   settlement conference. The settlement conference began at 9:30 a.m., as scheduled.
Northern District of California
 United States District Court




                                  13          Meanwhile, at 10:42 a.m., Kamath filed a “further letter” on the docket. (Dkt. No. 127.)

                                  14   Kamath stated that she logged into the Court’s non-public Zoom conference room at 8:30 a.m. but

                                  15   that there was no one to check in with her even at 9:30 a.m. (Id.) Kamath then stated that

                                  16   “Defendant Fay that has multi-million dollar industry has reneged from spending $500 to take a

                                  17   flight from the East Coast to California,” meanwhile Kamath “would be forced to expend over

                                  18   $200 in just taking an uber to the courthouse exclusive of all other costs.” (Id.) Kamath

                                  19   continued, arguing that the Court should have ordered Defendant Fay’s representative to appear in

                                  20   person, and “[s]ince you did not, I have logged in via the virtual link.” (Id.)

                                  21          Kamath then described an “issue” that “was very reminiscent of some 1950s courtroom

                                  22   drama,” but that she had “pre-empted it.” (Id.) Essentially, Kamath described an email from the

                                  23   Court’s courtroom deputy that inquired as to whether Kamath had physically lodged her

                                  24   settlement materials. (Id.) Because Kamath knew “something like this would occur,” she “pre-

                                  25   empted this” by taking “plenty of pictures of the actual drop-off and lodging.” (Id.) Kamath

                                  26   responded to the courtroom deputy that she had “pictoral [sic] proof.” (Id.) Kamath then stated

                                  27   that if she had not taken those pictures, “Judge Sallie Kim’s chambers would have falsely ruled

                                  28   that they did not receive the papers. . . . This is nothing less than the abuse that many people-of-
                                                                                         3
                                           Case 3:22-cv-05686-LB Document 134 Filed 07/25/24 Page 4 of 6




                                   1   color attorneys underwent in the bygone eras of the California courts. Imagine if a liberal

                                   2   courthouse is like this how the South and related courts are in the United States.” (Id.)

                                   3          The letter continued, and the Court finds it is appropriate to quote Kamath’s final four

                                   4   paragraphs:

                                   5                  Finally, I, having spent over six years in South Korea, know the
                                                      culture of Korean-Americans and Koreans very well. Rarely ever in
                                   6                  a higher institutions of education, such as Seoul National University
                                                      (where I graduated with high honors and the best Thesis award) did I
                                   7                  feel any bias or prejudice. Yet, in California courts, the racism is so
                                                      stark and add to it the misogyny that I see everyday [sic]. Judges want
                                   8                  you to file motions and do work – just to harass you and then deny it.
                                                      Outside of academia, the regular Korean culture does give in to White
                                   9                  culture more. Judge Kim may have gotten favors to get to her position
                                                      of power and authority.
                                  10
                                                      This morning, Defendant Fay’s Mr. Rose appeared remotely. This
                                  11                  seems okay for Judge Sallie Kim. However, Plaintiffs’ counsel,
                                                      Reshma Kamath appearing remotely is a “violation of the court order”
                                  12                  for Judge Kim.
Northern District of California
 United States District Court




                                  13                  Today, also after logging in from 08:30 A.M. PT, the judge initially
                                                      ended the meeting. After this, I logged in again and this time I was
                                  14                  let in where “Mr. Rose” from “Defendant Fay” was waiting remotely,
                                                      too. No repercussions for him from Judge Kim. Interestingly, I had
                                  15                  requested the settlement conference for my clients, i.e., Plaintiffs, and
                                                      Judge Kim has to demonstrate the unchecked power-trip as many
                                  16                  judges do.
                                  17                  The courts are trying to find bias and prejudice – they have pages of
                                                      ethical guidelines – but all these small micro-aggressions are all
                                  18                  racism. This starts right in law school and continues. This could be
                                                      a reality of the America we live in now: taking good law-abiding
                                  19                  people and making them criminals – American courts are well-known
                                                      for doing this to millions of non-Whites. As I had informed my client,
                                  20                  I am not paying any racist sanctions. As America is, they have to see
                                                      a Male or White person next to a female-of-color attorney to be taken
                                  21                  seriously. Lot of RACISM in this country.
                                  22   (Id.) (emphasis in original).

                                  23          Following the Court’s July 24, 2024 Order Referring Attorney Kamath to the Standing

                                  24   Committee on Professional Conduct, Kamath filed two more letters. Kamath’s first letter begins

                                  25   by stating that she had, from what the Court gathers, preemptively filed a response to any

                                  26   forthcoming order to show cause. (Dkt. No. 131.) Kamath reiterated that she should not pay “any

                                  27   racist sanctions.” (Id.) Kamath then stated she had further comments in light of the Court’s order

                                  28   of Referral to the Standing Committee on Professional Conduct. Kamath criticized the Court and
                                                                                         4
                                           Case 3:22-cv-05686-LB Document 134 Filed 07/25/24 Page 5 of 6




                                   1   stated: “This kind of Korean Ajumma [sic] behavior of manipulativeness is etched in your

                                   2   culture.” (Id.)

                                   3           Next, Kamath included a more general statement about the entire District Court as well as

                                   4   the California courts:

                                   5                     I also want to inform the CAND and California courts that constantly
                                                         hiring light-skinned judges from every culture shows your
                                   6                     debilitating downward spiral tinto [sic] an abysmal nothingness.
                                                         There is not even one person in the entire CAND courts who had lived
                                   7                     the life of a non-light-skinned individual. The courts may say they
                                                         have an African-American magistrate judge – but in her culture, she
                                   8                     is light-skinned, too.
                                   9                     Such delusional judges may think why does this matter – we rule on
                                                         the merits. But no, it matters. Light-skinned people think alike –
                                  10                     they’re known to look down upon people who’re not – in most
                                                         cultures this is true. You associate racist norms with people who’re
                                  11                     not light-skinned. Unless, there is a highly misogynistic culture, like
                                                         our trashy Indian modern Indian culture, then all colors can inflict
                                  12                     misogyny openly.
Northern District of California
 United States District Court




                                  13   (Id.)

                                  14           The letter continued as follows:

                                  15                     You CAND are promoting colorism, misogyny, racism, and a slew of
                                                         utter non-secial [sic] isms – while you fail to address such behaviors
                                  16                     – on a daily basis. Watch the courts get into a strange rut of
                                                         nothingness.
                                  17
                                                         Remember, people who hire people they like are only promoting the
                                  18                     same racist, colorist, and misogynistic behavior of the courtrooms
                                                         from the 1950s, 60s, 70s, 80s, 90s, into the year 2024.
                                  19
                                                         Courts are supposed to be a step ahead of society. Courts are
                                  20                     supposed to set the scene for generations of the future. Courts are
                                                         supposed to educate the uneducated, poor of the society into how
                                  21                     civilized society must be. Courts are supposed to help women.
                                  22                     But the courts in America do the opposite- you do NOTHING.
                                  23                     All the judges have written referring RESHMA KAMATH to
                                                         committee of PROFESSIONAL CONDUCT. Yes, RESHMA
                                  24                     KAMATH’s CONDUCT is PROFESSIONAL.
                                  25                     Why don’t judges learn to be professional?
                                  26   (Id.)

                                  27           In another letter filed later that evening, Kamath again complained about the settlement

                                  28   conference. (Dkt. No. 131.) Kamath stated in general:
                                                                                           5
                                           Case 3:22-cv-05686-LB Document 134 Filed 07/25/24 Page 6 of 6



                                                      You cannot just give White people concessions – you have to offer
                                   1                  the same to non-White people. As a woman of color, you have a
                                                      responsibility. You also cannot make White attorneys win cases of
                                   2                  people of color – and not extend that same right to women of color
                                                      attorneys – without a White attorney alongside.
                                   3
                                                      All this is the CAND judicial officers’ unprofessionalism and not
                                   4                  serving the people of California while leaching the State of California
                                                      of vital resources.
                                   5
                                       (Id.)
                                   6
                                               The Court finds that any accusation of bias and prejudice and the statement that the
                                   7
                                       undersigned “may have gotten favors to get to her position of power” to be unprofessional.
                                   8
                                       Kamath’s filings are nothing short of a diatribe following a denial of a request to appear virtually
                                   9
                                       at a settlement conference and unhappiness with the settlement conference. It is acceptable to
                                  10
                                       disagree with the Court and to appeal decisions by the Court, but filing baseless, angry accusations
                                  11
                                       against the Court is not acceptable.
                                  12
Northern District of California




                                               The Court finds that Kamath has not maintained the respect due to courts of justice and
 United States District Court




                                  13
                                       judicial officers. Her continued conduct does not show the care and decorum required for the fair
                                  14
                                       and efficient administration of justice, and her conduct certainly does not show that she intends to
                                  15
                                       discharge her obligations to the Court.
                                  16
                                               Accordingly, the Court REFERS Kamath to the Court’s Standing Committee on
                                  17
                                       Professional Conduct.
                                  18
                                               IT IS SO ORDERED.
                                  19
                                       Dated: July 25, 2024
                                  20
                                                                                        ______________________________________
                                  21                                                    SALLIE KIM
                                                                                        United States Magistrate Judge
                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         6
